     Case: 1:18-cv-07761 Document #: 48 Filed: 04/18/19 Page 1 of 4 PageID #:387



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )



                                  Conditional Voluntary Dismissal


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque, Incorporated, voluntarily

dismisses the Plaintiff’s case against the following Defendants, pursuant to a settlement

agreement reached by the parties:

 Doe             Store Name                                            Merchant ID
 28              Anne_Shop                                             1333683
 37              BeatuyShower Store                                    2799026
 48              BeautySquare Store                                    4470057
 67              Dazzling Girl Store                                   2458002
 69              Dreamy Sweety Store                                   3482047
 70              EchiQ Fake Nails Store                                1850698
 75              Fashbeauty Store                                      1837131
 79              Fighting ! Women Makeup Store                         2932087
 82              Gelike ec Official Store                              2842053
 91              hotbuy88 Store                                        1212387
 98              ISHOWTIENDA SHALLOW Store                             4375054
 110             LoeRoyal BeautyMall Store                             2667045
 135             Nail Gel Professional Shop                            2169059
 146             Pilaten beauty                                        1917407
  Case: 1:18-cv-07761 Document #: 48 Filed: 04/18/19 Page 2 of 4 PageID #:388



150         Pretty Beautys Store                        4239020
158         Savi Manicure Store                         1947087
164         Shop2942211 Store                           2942211
165         Shop2946056 Store                           2946056
168         Shop3857092 Store                           3857092
172         Shop4500001 Store                           4500001
175         SkinCare&Makeup Store                       4495067
176         Stylish Bueaty Store                        2919101
180         The 3th world Store                         2901109
189         USbeauty Store                              1387094
194         Vicky Dropshipping Store                    2945063
196         vrenmol Official Store                      2349187
201         Wondery Store                               2805128
212         Alonea                                      A30RHGEDDV8VEM
217         AutumnFall                                  ANUQZ3FA8TS2P
225         Copercn                                     A1GL3W9KMHTDWX
232         DETALLAN                                    A10TR6X5EKL9BR
233         DMZ                                         A2F12LQGRY5DN5
240         Fashionheaven                               A6PCDQ3F8XNPW
241         FTXJ                                        A2AX5N3VQGC0PI
242         Fullkang                                    ADLY6Z6LX01IE
251         jinjiums                                    AVIQBR3IOLSRK
253         KEMILOVE                                    AH3HPCMBAXDCF
259         Livoty                                      A1FEQ43F9CLRL2
261         Lookatool                                   A19PDY766W2X00
266         Misaky                                      A3S4CWG2TBTFMK
268         NEWONESUN                                   A2DIXBKYTYB3NR
271         OVERMAL                                     A30UMJPSTEV9I9
275         SANNYSIS                                    A3I7ZEAEWPBLEV
279         Shensee                                     A1PBVRUJ55857X
284         Transser                                    A1FGB5D62YX1GD
285         TRENDINAO                                   A3PPUSLZQWQBW9
287         USHOT                                       A3J42M9G2V2F3Y
289         Vovotrade                                   A6D1TOZN3TY8V
290         WENSY                                       A3B06YZB68T737
293         XUANOU                                      A2DN1G625QLW3W
384         15872981989                                 5a31341195646e3b194d5b75
394         bakheng                                     56d92bf41e15ff11682576b1
395         bangqunliu                                  56e419cd3a698c380aa5f8d0



                                       2
   Case: 1:18-cv-07761 Document #: 48 Filed: 04/18/19 Page 3 of 4 PageID #:389



396          baobaozuipiaoliang                          58d23d5eacb37b0b2bd0a0ab
397          bayancloth                                  577627617d818d622df20f6c
398          beatwin21e73692f43d11e6952802cb4df73154     58a59060096b2d7e42214e69
404          bestfeeling                                 58f6089dd0237707b7dd942d
413          bumeili66                                   58cf6b27b13fb1505377ed53
416          changshangyongpin                           58d22a3a4ac55f5403f69dfd
425          coolshengyuan                               58a7b3ba08f17a5057b4d56b
429          cutiescoconut                               56d58fbb8bd26e6271e2d908
439          dungu                                       5788713f0cb30d217245f877
459          fytrading                                   541f801f9719cd3d428a484f
461          guishengstore                               585fd957b7b3514cb4763953
489          kissmizi                                    59cb162ab771734914fdd3de
492          lakajewelry                                 58b931ac0ee890530ee64ea7
498          linaiping                                   594bf19814611043a3c696c1
509          luckybirds                                  57173598750e25590a869cda
510          lxx3326liu                                  58ca0b1c3a8bc86f5dcae0a8
518          meyouton                                    56d50e4ae1e6a016021e9771
537          pinkwing                                    58f5c7f4c509bf5bf0f48bee
538          pocketshopping                              560a4f302ca23217b1dd9e9a
540          redlight                                    592544f31b8cfa4e10b3e608
541          redson                                      593116b50d7f40536bafb053
556          shishangnvzhuanga                           58d25ed0448af36bbc2b8953
563          successdc                                   545067a71280fa5c760f4519
566          sunfashionlife                              5846721def562866a1349339
567          sunnybeautys                                58eca9125c21171176a7db97
577          upington                                    5783477bf1ab1f1132bea5c0
579          w_beauties                                  58c68fe9e16d63583ab3aaf7
582          wangyang625                                 599f9049f628f54fe75b914a
583          weeshop                                     565da32599558d32a2ab33f4
585          weka                                        56caf09bbd8e87136f358aa8
593          xiazuo                                      5899530132f2714ffd309b8b
594          xiekaikuishop                               5878e0fa7a5b4f4d75362968
602          yuanlishangmao                              5877322d83cdfa278bc94c15
609          广东深圳市优宜得网络科技有限公司                            556dadfaa2c01a27bd57a6c6
615          深圳市优米网络科技有限公司                               556ed3b9a2c01a35374150df
456 (623)    funhobbies                                  582d4f892f28c942a4bd9151




                                         3
    Case: 1:18-cv-07761 Document #: 48 Filed: 04/18/19 Page 4 of 4 PageID #:390



       Plaintiff requests that the dismissal be without prejudice and without costs to either party,

and with leave for Plaintiff to seek reinstatement within 21 days from the entry of this Notice of

Dismissal, should the Defendant fail to comply with the terms of the settlement agreement within

that time.


Dated: April 17, 2019


                                      Respectfully submitted,



                              By:       s/David Gulbransen/
                                      David Gulbransen
                                      Attorney of Record for Plaintiff

                                      David Gulbransen (#6296646)
                                      Law Office of David Gulbransen
                                      805 Lake Street, Suite 172
                                      Oak Park, IL 60302
                                      (312) 361-0825 p.
                                      (312) 873-4377 f.
                                      david@gulbransenlaw.com




                                                 4
